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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )     Chapter 11
                                                                  )
YELLOW CORPORATION, et al.,1                                      )     Case No. 23-11069 (CTG)
                                                                  )
                                Debtors.                          )     (Jointly Administered)
                                                                  )
                                                                  )

                                                              Hearing Date: January 22, 2024 at 2:00 p.m. (ET)
                                                         Objection Deadline: January 10, 2024 at 4:00 p.m. (ET)

NOTICE OF HEARING ON FIRST INTERIM APPLICATION OF DUCERA PARTNERS
LLC FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
     FOR THE PERIOD FROM AUGUST 6, 2023 THROUGH OCTOBER 31, 2023

                   PLEASE TAKE NOTICE that on December 20, 2023, Ducera Partners LLC,

investment banker to the above-captioned debtors and debtors in possession (the “Debtors”),

filed the First Interim Fee Application of Ducera Partners LLC for Allowance of Compensation

and Reimbursement of Expenses for the Period from August 6, 2023 Through October 31, 2023

(the “Application”) seeking fees in the amount of $4,775,000.00 and reimbursement of actual

and necessary expenses in the amount of $47,423.55. A copy of the Application is attached

hereto.

                   PLEASE TAKE FURTHER NOTICE that any response or objection to the

Application, if any, must be made in writing and filed with the United States Bankruptcy Court

for the District of Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801

(the “Court”) on or before January 10, 2024 at 4:00 p.m. (ET).



1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
    place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
    Overland Park, Kansas 66211.



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                   The Application is submitted pursuant to the Order (I) Establishing Procedures

for Interim Compensation and Reimbursement of Expenses for Retained Professionals and (II)

Granting Related Relief, entered on September 13, 2023 [Docket No. 519] (the “Administrative

Order”).

                   PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (a) the Debtors, Yellow Corporation, 11500

Outlook Street, Suite 400, Overland Park, Kansas 66211, Attn.: General Counsel; (b) counsel to

the Debtors (i) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654, Attn.:

Whitney           Fogelberg       (whitney.fogelberg@kirkland.com)           and         Rob        Jacobson

(Rob.Jacobson@kirkland.com) (ii) Kirkland & Ellis LLP, 601 Lexington Avenue, New York,

New York 10022, Attn.: Allyson B. Smith (allyson.smith@kirkland.com); and (iii) Pachulski

Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, PO Box 8705, Wilmington,

Delaware 19801, Attn.: Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns

(tcairns@pszjlaw.com),          Peter   J.   Keane    (pkeane@pszjlaw.com),        and    Edward      Corma

(ecorma@pszjlaw.com); (c) the Office of the United States Trustee for the District of Delaware,

844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware 19801, Attn.: Jane Leamy

(jane.m.leamy@usdoj.gov) and Richard Shepacarter (richard.shepacarter@usdoj.gov); (d)

counsel to the Committee (i) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank of

America        Tower,       New    York,     NY      10036-6745   US,   Attn.:      Philip     C.    Dublin

(pdublin@akingump.com), Meredith A. Lahaie (mlahaie@akingump.com), and Kevin Zuzolo

(kzuzolo@akingump.com) and (ii) co-counsel to the Committee, Benesch Friedlander Coplan &

Aronoff LLP, 1313 North Market Street, Suite 1201, Wilmington, DE, 19801, Attn.: Jennifer R.

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(e) counsel to the Junior DIP Lender, (i) Quinn Emmanuel Urquhart & Sullivan, 865 S. Figueroa

St., 10th Floor, Los Angeles, CA 90017, Attn.: Eric Winston (ericwinston@quinnemanuel.com)

and 51 Madison Avenue, 22nd Floor, New York, NY 10010, Attn: Susheel Kirplani

(susheelkirpalani@quinnemanuel.com), and (ii) Ropes & Gray LLP, 191 North Wacker Drive,

32nd Floor, Chicago, IL 60606, Attn: Lucas S. Smith (Luke.Smith@ropesgray.com) and

1211 Avenue of the Americas, New York, NY 10036, Attn: Natasha S. Hwangpo

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Attn.: Scott Greissman (sgreissman@whitecase.com), Elizabeth Feld (efeld@whitecase.com),

and Andrew Zatz (azatz@whitecase.com); (h) counsel to the Prepetition ABL Agent, Choate,

Hall & Stewart LLP, Two International Place, Boston, MA 02110, Attn.: Kevin Simard

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(ronald.silverman@hoganlovells.com)              and       Christopher             R.        Bryant

(chris.bryant@hoganlovells.com); (l) counsel to the United States Department of the Treasury,



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Arnold & Porter Kaye Scholer LLP, 70 West Madison Street, Suite 4200, Chicago, Illinois

60602, Attn: Michael Messersmith (michael.messersmith@arnoldporter.com), 250 West 55th

Street, New York, NY 10019, Attn: Benjamin Mintz (benjamin.mintz@arnoldporter.com), and

601     Massachusetts           Ave.,   N.W.,    Washington,    DC   20001,     Attn.:   Rosa   Evergreen

(rosa.evergreen@arnoldporter.com); (m) the United States Department of Justice, 1100 L St NW

Rm 7102, Washington, DC 20005-4035, Attn.: I-Heng Hsu (I-Heng.Hsu@usdoj.gov) and

Crystal Geise (Crystal.Geise@usdoj.gov).

                   PLEASE TAKE FURTHER NOTICE THAT A HEARING ON THE

APPLICATION WILL BE HELD ON JANUARY 22, 2024 AT 2:00 P.M (ET) BEFORE THE

HONORABLE CRAIG T. GOLDBLATT, UNITED STATES BANKRUPTCY COURT

JUDGE, AT THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF

DELAWARE, 824 MARKET STREET, 3RD FLOOR, COURTROOM NO. 7, WILMINGTON,

DELAWARE 19801. ONLY OBJECTIONS MADE IN WRITING AND TIMELY FILED

WILL BE CONSIDERED BY THE BANKRUPTCY COURT AT SUCH HEARING.

                   PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.




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Dated: December 20, 2023
Wilmington, Delaware

/s/ Peter J. Keane
Laura Davis Jones (DE Bar No. 2436)        Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)        David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)           Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)             KIRKLAND & ELLIS LLP
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                                           Co-Counsel for the Debtors and Debtors in Possession




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